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                  Walter F. McKee  Kurt C. Peterson  Matthew D. Morgan


June 15. 2021


Christa Berry, Clerk of Courts
United States District Court
202 Harlow Street
Bangor, ME 04401

RE:    Frechette v. Gaudette, et al.
       Case No.: 2:17-cv-00172

Dear Ms. Berry:

By way of update per the court’s order, just as it was at the time of my last update in December,
at this time Scott Frechette’s case is still pending in the First Circuit Court of Appeals. I gather
that separate from the COVID delays that there may have been delays because of Scott’s death
and the need to substitute a personal representative, which has now been done. It is anyone’s guess
as to when the appeal will be decided, hopefully sooner rather than later so that we can keep this
case and the Larry Ouellette case still on a rough track together.

Sincerely,

/s/ Walter F. McKee

Walter F. McKee
wmckee@mckeelawmaine.com
WFM/amm/125632
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                               CERTIFICATE OF SERVICE

       I hereby certify that on June 15, 2021, I electronically filed the above notice with the

District Court using the CM/ECF system which will send notification of such filing to the

following: Tim Bryant, Esq., Keith Jacques, Esq., Gene Libby, Esq.


Date: June 15, 2021
                                                          /s/ Walter F. McKee___________
                                                          Walter F. McKee, Esq.
                                                          Attorney for Plaintiff
